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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT of GEORGIA
       John E. Triplett                   OFFICE of the CLERK                           (912)650-4020
       Clerk of Court                        P.O. Box 8286
                                       SAVANNAH, GEORGIA 31412

                                    NOTICE of FILING DEFICIENCY

               To: Ghaleb Alaumary                                 Date: 8/16/2022
               Case: CR420-27                                      Party: Defendant

Your pleading, ________________________________________________________________________,
                #82 MOTION for Reduction in Sentence

             _____________ , but remains deficient in the area(s) checked below:
was filed on 08/16/22


[   ] No actions required (Informative Only)        or      [   ] Corrective Actions Required

               1. Disclosure Statement has not been filed. This is the only mechanism to identify potential
                  judicial conflicts. (Local Rule 7.1.1)
               2. Pleading is illegible or otherwise not in compliance with Local Rule 10.1.
               3. Please submit a paper courtesy copy. Paper copies must be submitted when the
                  document either is or relates to a motion for summary judgment; or, the document
                  exceeds 250 pages. (Administrative Procedures)
               4. Pleading is not signed. (Local Rule 11.1 and Administrative Procedures)
               5. Pursuant to Section IIB of the Administrative Procedures, no certificate of service was
                  provided.
               6. Motion is not in compliance with Local Rules.
                  a. No memorandum of law citing supporting authorities was submitted (L.R. 7.1)
                  b. No good faith document was submitted. (L.R. 26.5)
                  c. Separate proposed order was not attached to e-filed document. (L.R. 7.1)
                  d. Separate proposed order was not e-mailed to appropriate proposed order address
                  in MS Word format. (Administrative Procedures)
               7. For Judge Stan Baker cases, the Plaintiff/Defendant statement regarding referral was not
                  returned within 14 days.
               8. Counsel should file a separate motion for each relief sought and not file a
                  consolidated motion.

               9. Other:
                  Please sign and return to U.S.D.C.
                  ______________________________________________________________________




                 After 14 days a notice of noncompliance will be submitted to a judicial officer
                                  for possible sanctions, to include dismissal.

                 For more information - Please contact: 912-650-4020
                                                        ______________________________
                                                         Deputy Clerk
